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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA

Alexandria Division

UNITED STATES OF AMERICA )
)
Vv. )
) Case No. 1:19-mj-231
ALLISON ELIZABETH FLUKE-EKREN, )
a/k/a “Allison Elizabeth Brooks,” )
a/k/a “Allison Ekren,” )
a/k/a “Umm Mohammed al-Amriki,” )
a/k/a “Umm Mohammed,” )
a/k/a “Umm Jabril,” )
)
Defendant. )
ORDER

Upon the motion of the United States, by and through its attorneys, and with the consent
of the defendant, ALLISON ELIZABETH FLUKE-EKREN, by and through her attorney, and
finding in accordance with 18 U.S.C. § 3161, for the reasons stated in the Consent Motion to
Extend Time for Indictment, that the ends of justice served by granting the extension outweigh the
best interests of the public and the defendant in a speedy trial, it is hereby,

ORDERED that the time period for indicting the defendant be and is hereby extended up
to and including April 28, 2022. Accordingly, the delay resulting from the pending motion for

extension shall be excluded in computing the time within which an indictment must be filed.

Date: Filer 24 AVIQ
Alexandria, Virginia | Is/

Leonie M. Brinkema
United States District Judge

 
